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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 05-0383CCC
 1) JOEL MORENO-ESPADA
 a/k/a JOEL, (Counts One and Two)
 2) JOSE RAFAEL VELAZQUEZ-LOPEZ,
 a/k/a Bebe (Counts One and Two)
 3) ITHIER RIVERA-SANTIAGO,
 a/k/a Ithier (Counts One, Two and Three)
 4) JOSE RAFAEL ORTIZ-MELENDEZ
 5) JOSE A. RIVERA-SANTIAGO
 a/k/a Pelón (Counts One and Two)
 6) HECTOR LOPEZ-FLORES
 7) LUIS DANIEL MELENDEZ-SANCHEZ
 a/k/a Corito (Counts One, Two and Three)
 8) MIGUEL A. LOPEZ-PAGAN
 a/k/a Macho
 (Counts One, Two and Three)
 9) OMAR MORENO-ESPADA
 a/k/a Omar (Counts One and Two)
 10) RAMON L. MARTINEZ-RODRIGUEZ
 a/k/a Negro, a/k/a Spiderman
 (Counts One and Two)
 11) JOSE RIVERA-GONZALEZ
 a/k/a Gil (Count One)
 12) JOSE E. RIVERA-GONZALEZ
 a/k/a Geño (Count One)
 13) CARLOS JOSE CRUZ-FRANCO
 14) SONIA ESPADA-MALAVE
 a/k/a Coja (Count One)
 15) LIZETTE RIVERA-ESPADA
 a/k/a Pelota (Count One)
 16) YARITZA I. FRANCESCHI-MALAVE
 (Count One)
 Defendants
                                       ORDER
      Having considered the Report and Recommendation filed on June 19, 2006 (docket
entry 720) on a Rule 11 proceeding of co-defendant Ithier Rivera-Santiago held before
Magistrate Judge Camille L. Vélez-Rivé on June 19, 2008, to which no opposition has been
filed, the same is APPROVED. Accordingly, the plea of guilty of co-defendant Ithier Rivera-
Santiago is accepted. The Court FINDS that his plea was voluntary and intelligently entered
with awareness of his rights and the consequences of pleading guilty and contain all
elements of the offense charged in the indictment.
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     This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since June 19, 2008. The sentencing hearing is set for
September 25, 2008 at 4:30 PM.
     SO ORDERED.
     At San Juan, Puerto Rico, on June 27, 2008.



                                              S/CARMEN CONSUELO CEREZO
                                              United States District Judge
